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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                     WAYCROSS DIVISION

                                 Case No. 5:20-cv-41-LGW-BWC

PATRICIA KENNEDY,

       Plaintiff,

v.

GAYATRI CORPORATION
d/b/a Western Hotel,

      Defendant
______________________________________________/

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, Patricia Kennedy, by and through undersigned counsel, hereby gives notice that,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff voluntarily dismisses any and all claims against

Defendant, Gayatri Corporation d/b/a Western Hotel, with prejudice.

       Respectfully Submitted this 8th day of April 2021.

                                               Attorneys for Plaintiff

                                               _____/s/ Kathy L. Houston                      .
                                               Kathy L. Houston, Esq.
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                CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that the foregoing document is being served this 8th day of April, 2021, on

counsel of record or pro se parties identified on the attached Service List in the manner specified,

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing.

                                         SERVICE LIST


       Gayatri Corporation, defendant, c/o Jim McGee, Esq., jim@mcgeeandmcgee.com;
       Joseph T. Rhodes, Esq., co-counsel for Plaintiff, jrhodes@hunterrhodes.com;
       rhodes.joseph@gmail.com

                                                   /s/ Kathy L. Houston        _______          .
                                              Kathy L. Houston, Esq.
